      Case 17-24000-VFP           Doc 190 Filed 06/19/22 Entered 06/20/22 00:14:24                  Desc
                                 Imaged Certificate of Notice Page 1 of 4

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg, MAG-1284
Marie-Ann Greenberg, Standing Trustee
                                                                     Order Filed on June 17, 2022
30 TWO BRIDGES ROAD                                                  by Clerk
SUITE 330                                                            U.S. Bankruptcy Court
FAIRFIELD, NJ 07004-1550                                             District of New Jersey

973-227-2840
Chapter 13 Standing Trustee

 IN RE:
    ROGER V. ASHODIAN                                Case No.: 17-24000 VFP

                                                     Hearing Date: 6/16/2022



                 INTERIM ORDER ON TRUSTEE'S CERTIFICATION OF DEFAULT

   The relief set forth on the following page, numbered two (2), is hereby ORDERED.




          DATED: June 17, 2022
       Case 17-24000-VFP     Doc 190 Filed 06/19/22 Entered 06/20/22 00:14:24                                  Desc
                           Imaged Certificate of Notice Page 2 of 4
Debtor(s): ROGER V. ASHODIAN

Case No.: 17-24000
Caption of Order: INTERIM ORDER ON TRUSTEE'S CERTIFICATION OF DEFAULT

   THIS MATTER having come before the Court on 06/16/2022 on notice to the Debtor(s) herein (Pro

Se), and good sufficient cause having been shown, it is:

   ORDERED, that the Debtor(s) must pay $1,757.00 to the Trustee's office by 7/7/2022 or the case will be

   dismissed; and it is further

   ORDERED, that if satisfied, the Trustee's certification of default will be adjourned to 7/7/2022 at 10:00

   AM.




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                                                               United States Bankruptcy Court
                                                                   District of New Jersey
In re:                                                                                                                  Case No. 17-24000-VFP
Roger V. Ashodian                                                                                                       Chapter 13
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0312-2                                                   User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 17, 2022                                                Form ID: pdf903                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 19, 2022:
Recip ID                     Recipient Name and Address
db                         + Roger V. Ashodian, 41 North Fullerton Avenue, Apartment D2, Montclair, NJ 07042-3473

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 19, 2022                                            Signature:            /s/Gustava Winters




                                     CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 17, 2022 at the address(es) listed below:
Name                                 Email Address
Joseph D. Petrolino, Jr.
                                     on behalf of Trustee Marie-Ann Greenberg jpetrolino@magtrustee.com

Marie-Ann Greenberg
                                     magecf@magtrustee.com

Michael Frederick Dingerdissen
                                     on behalf of Creditor Wells Fargo Bank National Association, as Trustee for the SACO I Inc. Mortgage Pass-Through Certificates
                                     Series 1999-3 nj.bkecf@fedphe.com

Nicholas V. Rogers
                                     on behalf of Creditor SELECT PORTFOLIO SERVICING INC. AS SERVICER FOR WELLS FARGO BANK NATIONAL
                                     ASSOCIATION, SUCCESSOR BY MERGER TO WELLS FARGO BANK MINNESOTA, NATIONAL ASSOCIATION, AS
                                     TRUSTEE, F/K/A NORWEST BANK..... nj.bkecf@fedphe.com

Sean M. O'Brien
                                     on behalf of Creditor Wells Fargo Bank National Association, as Trustee for the SACO I Inc. Mortgage Pass-Through Certificates
                                     Series 1999-3 DMcDonough@flwlaw.com
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District/off: 0312-2                                 User: admin                         Page 2 of 2
Date Rcvd: Jun 17, 2022                              Form ID: pdf903                    Total Noticed: 1
U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 6
